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Attorney or Party Name, Address, Telephone & FAX                                FOR COURT USE ONLY
Nos., State Bar No. & Email Address
Michael R. Totaro 102229
Totaro & Shanahan
P.O. Box 789
Pacific Palisades, CA 90272
(800) 541-2802 (v)
(310) 496-1260 (/)
ocbatty@aol.com




 D    Debtor(s) appearing without an attorney
Jx( Attorney for: Debtor/Debtor in Possession

                                          UNITED STATES BANKRUPTCY COURT
                              CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 In re:                                                                         CASE NO.: 2:20-bk- 13673-SK
Hidden Creek Ranch, LLC                                                         CHAPTER: 11

                                                                                                         Corrected
                                                                                           NOTICE OF OPPORTUNITY TO
                                                                                         REQUEST A HEARING ON MOTION

                                                                                                          [LBR 9013-1 (o)]


                                                                                             [No hearing unless requested in writing]
                                                                 Debtor(s).

TO THE U.S. TRUSTEE AND ALL PARTIES ENTITLED TO NOTICE, PLEASE TAKE NOTICE THAT:

1.   Movant(s) Hidden Creek Ranch, LLC
     filed a motion or application (Motion) entitled Application to Employ Michael R. Totaro and Totaro & Shanahan as
      General Insolvency Counsel

2.   Movant(s) is requesting that the court grant the Motion without a hearing as provided for in LBR 9013-1(0), unless a
     party in interest timely files and serves a written opposition to the Motion and requests a hearing.

3. The Motion is based upon the legal and factual grounds set forth in the Motion. (Check appropriate box below):
     Jxf The full Motion is attached to this notice; or
     D     The full Motion was filed with the court as docket entry# ___, and a detailed description of the relief sought is
           attached to this notice.

4.   DEADLINE FOR FILING AND SERVING OPPOSITION PAPERS AND REQUEST FOR A HEARING: Pursuant to
     LBR 9013-1 (o), any party who opposes the Motion may request a hearing on the Motion. The deadline to file and serve
     a written opposition and request for a hearing is 14 days after the date of service of this notice, plus 3 additional days if
     you were served by mail or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).


            This form is optional. It has been approved for use ln the Un'rted states Bankruptcy Court for tt1e Central District of California_

December 2016                                                              Page 1                F 9013-1.2.OPPORTUNITY.HEARING.NOTICE
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        Michael R. Totaro 102229
        Totaro & Shanahan
    2   P.O. Box 789
        Pacific Palisades, CA 90272
    3   (800) 541-29-2 (v)
        (310) 496-1260 (f)
    4   Ocbkatty@aol.com
    5
        Attorneys for Debtors/Debtors in Possession
    6
    7
    8                          UNITED STATES BANKRUPTCY COURT
    9                CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
   10   In re                                         Case No. 2:20-bk­13673-SK
   11   Hidden Creek Ranch, LLC                       Chapter 11
   12       Debtors/Debtors in Possession.            APPLICATION BY DEBTORS AND
                                                      DEBTORS IN POSSESSION TO EMPLOY
   13                                                 MICHAEL R. TOTARO AND THE LAW
                                                      OFFICES OF TOTARO & SHANAHAN AS
   14                                                 GENERAL INSOLVENCY COUNSEL AND
                                                      APPROVAL OF HOURLY FEE;
   15                                                 DECLARATIONS IN SUPPORT
   16                                                 [NO HEARING REQUESTED-LBR -9013-1 (f)]
   17
   18           TO THE HONORABLE COURT, THE UNITED STATES TRUSTEE AND ALL
   19   INTERESTED PARTIES:
   20
                Hidden Creek Ranch, LLC (Hidden Creek) the Debtor and Debtor In Possession in
   21
        the above captioned case ('Debtor"), seeks an order approving their retention of Michael
   22
        R. Totaro ("Totaro") and Totaro & Shanahan, (the "Firm"), as general insolvency counsel,
   23
        effective April 15, 2020 pursuant to 11 U.S.C. sections 327, 330 and rule 2014(a) of the
   24
        Federal Rules of Bankruptcy Procedure and approval of hourly billing rates. In support of
   25
        this application Debtors represent:
   26
                I.     On or about April I, 2020 Debtor retained Michael R. Totaro ('Totaro') and
   27   the law firm of Totaro & Shanahan ("the Firm") to represent Debtors in this Chapter 11
   28   bankruptcy proceeding.      Pre-petition services commenced at that which included
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                                  PROOF OF SERVICE OF DOCUMENT
   2           I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My
        business address is: P.O. Box 789, Pacific Palisades, CA 90272

               A true and correct copy of the foregoing document entitled ( specify): "Application by Debtors and
   4    Debtors in Possession to Employ Michael R. Totaro and Totaro and Shanahan as General Insolvency
        Counsel and Approval of Flat Fee" will be served or was served (a) on the judge in chambers in the form
    5   and manner required by LBR 5005-2(d); and (b) in the manner stated below:

    6            1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
        controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
    7   hyperlink to the document. On April 15, 2020 I checked the CM/ECF docket for this bankruptcy case or
        adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
   8    receive NEF transmission at the email addresses stated below:

    9                                                           Service Information continued on attached page

   10          2.    SERVED BY UNITED STATES MAIL:

   11            On April 17, 2020 I served the following persons and/or entitles at the last known addresses in this
        bankruptcy case or adv ersary proceeding by placing a true and correct copy thereof in a sealed envelope
   12   in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
        constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
   13   document is filed.

   14   Hidden Creek Ranch, LLC 8209A Foothills Blvd. #700 Sunland, Ca 91040

   15                                                    X      Service Information continued on attached page

   16       3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
        EMAIL (state method for each person or entity served):
   17
                  Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) ______� I served the following
   18   persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing
        to such service method), by facsimile transmission and/or email as follows. Listing the judge here
   19   const',tutes a declaration that personal delivery on, or overnight mail to, the judge will be completed no later
        than 24 hours after the document is filed.
  20
                                                                 Service information continued on attached page
  21
  22
  23            I declare under penalty of perjury under the laws of the United States that the foregoing is true
        and correct.
  24
        April 17 2020            Michael R. Totaro             /s/ Michael R. Totaro
  25
   26
  27
  28
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